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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
VENICE PI, LLC )
) Case No.: 17-cv-6418
Plaintiff, )
) Judge Gary Feinerman
v. )
)
DOES 1-23, )
)
Defendants. )

LAINT!FF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
OF ALL REMAINING DOE DEFENDANTS
Plaintiff, Venice PI, LLC, pursuant to Rule 4l(a)(l) of the Federal Rules of Civil Procedure,
hereby dismisses without prejudice all causes of action in the complaint against all of the Doe
Defendants remaining in this action. Each party shall bear its own attorney’s fees and costs.
The respective Doe Defendants have not filed an answer to the complaint or a motion for

summary judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule

41(a)(1) is appropriate
Consistent herewith, Plaintiff consents to the Court closing this case for administrative
purposes.
Respectfully submitted,
Dated: January 26, 2018 VENICE PI, LLC

By: s/Michael A. Hierl
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CER'I`IFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of Voluntary Dismissal Without Prejudice of All Remaining Doe Defendants was filed
electronically with the Clerk of the Court and served on all counsel of record and interested
parties via the CM/ECF system on January 26, 2018.

s/Michael A. Hierl

 

